           CASE 0:20-cv-02472-JRT-DTS Doc. 14 Filed 12/31/21 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 Tracy Proctor,                                        Civil No. 20-cv-2472 JRT/DTS

                       Plaintiff,
 v.                                                DEFENDANT’S MOTION FOR
                                                      JUDGMENT ON THE
 Unum Life Insurance Company of America,           ADMINISTRATIVE RECORD
                                                    PURSUANT TO RULE 52(a)
                       Defendant.


          Pursuant to Rules 39(b) and 52(a) of the Federal Rules of Civil Procedure,

Defendant will move the Court for an Order granting its Motion for Judgment on the

Administrative Record. Defendant’s motion is based upon the motion papers submitted,

the arguments of counsel and all documents contained in the file.

                                            MESSERLI & KRAMER P.A.

Dated: December 31, 2021                    By: s/Terrance J. Wagener
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